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                          UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF OHIO
                               WESTERN DIVISION

LOUISE BAYLISS, et al.                                 Case No. 1:16-cv-594

      Plaintiffs,                                      Judge Susan J. Dlott
vs.

WEST CHESTER HOSPITAL, LLC, et al.

            Defendants.         _______________________________________________

                             JUDGMENT IN A CIVIL CASE
                    _______________________________________________

       [ ] Jury Verdict: This action came before the Court for a trial by jury. The issues
have been tried and the Jury has rendered its verdict.

      [x]     Decision by Court:

      IT IS ORDERED AND ADJUDGED that this matter is REMANDED to the state court
from which it was removed; and the case is TERMINATED on the docket of this Court.

Date: 10/3/2016                                        RICHARD W. NAGEL, CLERK

                                                       By: /s/ M. Rogers
                                                       Deputy Clerk
